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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                           )
                                                    )
              Plaintiff,                            )
                                                    )
              v.                                    )      Civil Action No. 99-2496 (GK)
                                                    )
PHILLIP MORRIS USA INC.                             )
f/k/a PHILLIP MORRIS INCORPORATED,                  )
et al.,                                             )
                                                    )
              Defendants.                           )
                                                    )

 NOTICE OF FILING CERTIFICATION OF THE REGENTS OF THE UNIVERSITY
                          OF CALIFORNIA

       The Regents of The University of California hereby file the attached Certification of

Compliance with Order #27 Remand: Consent Order between the United States, the Public

Health Intervenors, Philip Morris USA Inc., Altria Group, Inc. and RJ Reynolds Tobacco

Company.

Dated: December 26, 2021                    Respectfully submitted,

                                            MOONEY, GREEN, SAINDON,
                                            MURPHY & WELCH, P.C.


                                            By: /s/Peter J. Leff
                                                  Peter J. Leff
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                                            Attorneys for the Regents of The University of
                                            California
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                                CERTIFICATE OF SERVICE


       The undersigned attorney hereby certifies that on December 26, 2021, he caused a copy

of the foregoing Notice of Filing Certification of the Regents of The University of California to

be served electronically on all parties in this action in accordance with the CM/ECF system

utilized by this Court




                                        /s/ Peter J. Leff_____
